                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 1 of 34 Page ID
                                                                                           #:12734


                                                            1 ANDREW P. BRIDGES (CSB No. 122761)
                                                              abridges@fenwick.com
                                                            2 ILANA RUBEL (CSB. No. 221517)
                                                              irubel@fenwick.com
                                                            3 TODD R. GREGORIAN (CSB No. 236096)
                                                              tgregorian@fenwick.com
                                                            4 KATHLEEN LU (CSB No. 267032)
                                                              klu@fenwick.com
                                                            5 FENWICK & WEST LLP
                                                              555 California Street, 12th Floor
                                                            6 San Francisco, CA 94104
                                                              Telephone: 415.875.2300
                                                            7 Facsimile: 415.281.1350
                                                            8 Attorneys for Defendants
                                                              GIGANEWS, INC., and
                                                            9 LIVEWIRE SERVICES, INC.
                                                          10                       UNITED STATES DISTRICT COURT
                                                          11                      CENTRAL DISTRICT OF CALIFORNIA
                                                          12                               WESTERN DIVISION
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 PERFECT 10, INC., a California            Case No.: 11-cv-07098-ABC (SHx)
                                          SAN FRANCISCO




                                                             corporation,
                                                          14                                           DISCOVERY MATTER
                                                                             Plaintiff,                Before Hon. Stephen J. Hillman
                                                          15
                                                                    v.                                 MEMORANDUM IN SUPPORT OF
                                                          16                                           DEFENDANTS GIGANEWS, INC.
                                                             GIGANEWS, INC., a Texas Corporation;      AND LIVEWIRE SERVICES,
                                                          17 LIVEWIRE SERVICES, INC., a Nevada         INC.’S MOTION TO COMPEL
                                                             corporation; and DOES 1 through 100,      DISCOVERY COMPLIANCE
                                                          18 inclusive,                                FROM CRAIG KEN YAMATO II,
                                                                                                       AND FOR SANCTIONS
                                                          19                 Defendants.
                                                                                                  Date:        June 30, 2014
                                                          20                                      Time:        2:00 P.M.
                                                             GIGANEWS, INC., a Texas Corporation; Courtroom: 550 (Roybal)
                                                          21 LIVEWIRE SERVICES, INC., a Nevada
                                                             Corporation,                         Discovery Cut-off: June 30, 2014
                                                          22                                      Pretrial Conference: January 19, 2015
                                                                          Counterclaimants,       Trial Date:          January 27, 2015
                                                          23
                                                                  v.
                                                          24
                                                             PERFECT 10, INC., a California
                                                          25 Corporation,
                                                          26                 Counterdefendant.
                                                          27
                                                          28   MEMO. ISO DFTS.’ MOT. TO COMPEL                     CASE NO. 11-cv-07098-ABC (SHx)
                                                               DISCOVERY COMPLIANCE FROM YAMATO,
                                                               AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 2 of 34 Page ID
                                                                                           #:12735


                                                            1                                        TABLE OF CONTENTS
                                                                                                                                                                                    Page
                                                            2
                                                            3 I.     INTRODUCTION ............................................................................................ 1
                                                            4 II.    THE DISCOVERY REQUESTS AND RESPONSES AT ISSUE ................. 3
                                                            5                Document Request No. 1. .................................................................... 3
                                                            6                    Perfect 10 and Mr. Yamato’s Response to
                                                                                 Document Request No. 1. .................................................................. 3
                                                            7
                                                                             Document Request No. 2. .................................................................... 3
                                                            8
                                                                                 Perfect 10 and Mr. Yamato’s Response to
                                                            9                    Document Request No. 2. .................................................................. 3
                                                          10                 Document Request No. 3. .................................................................... 4
                                                          11                     Perfect 10 and Mr. Yamato’s Response to
                                                                                 Document Request No. 3. .................................................................. 4
                                                          12
F ENWICK & W EST LLP




                                                                     A.      The Requested Documents are Relevant to the Issues in this
                       ATTORNEYS AT LAW




                                                          13                 Case. ....................................................................................................... 4
                                          SAN FRANCISCO




                                                          14         B.      Mr. Yamato Has Not Established that He Performed a
                                                                             Reasonable and Diligent Search for Responsive Documents. ............... 4
                                                          15
                                                                     C.      The Court Should Compel Further Production Because
                                                          16                 Responsive Documents Necessarily Exist Within Mr.
                                                                             Yamato’s Possession, Custody or Control. ............................................ 6
                                                          17
                                                                     D.      No Privilege Protects Any Documents Responsive to
                                                          18                 Request No. 2 From Disclosure. ............................................................ 7
                                                          19                 Document Request No. 4. .................................................................... 8
                                                          20                     Perfect 10 and Mr. Yamato’s Response to
                                                                                 Document Request No. 4. .................................................................. 9
                                                          21
                                                                     A.      Request No. 4 Seeks Relevant and Discoverable Documents
                                                          22                 About Mr. Yamato’s Communications with Other Witnesses
                                                                             Affiliated with Perfect 10....................................................................... 9
                                                          23
                                                                     B.      This Court Should Order a Sworn Declaration Detailing All
                                                          24                 Efforts to Locate Documents Responsive to Request No. 4................ 10
                                                          25         C.      The Court Should Compel Mr. Yamato to Produce Further
                                                                             Documents Because Non-Privileged Documents Responsive
                                                          26                 to Request No. 4 Likely Exist Within Mr. Yamato’s
                                                                             Possession, Custody or Control. .......................................................... 11
                                                          27
                                                          28    MEMO. ISO DFTS.’ MOT. TO COMPEL                                                   CASE NO. 11-cv-07098-ABC (SHx)
                                                                DISCOVERY COMPLIANCE FROM YAMATO,
                                                                                                                           i
                                                                AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 3 of 34 Page ID
                                                                                           #:12736


                                                            1                                  TABLE OF CONTENTS
                                                                                                     (Cont.)
                                                            2                                                                                                     Page
                                                            3              Document Request No. 5. .................................................................. 12
                                                            4                 Perfect 10 and Mr. Yamato’s Response to
                                                                              Document Request No. 5. ................................................................ 12
                                                            5
                                                                           Document Request No. 6. .................................................................. 12
                                                            6
                                                                              Perfect 10 and Mr. Yamato’s Response to
                                                            7                 Document Request No. 6. ................................................................ 12
                                                            8              Document Request No. 7. .................................................................. 13
                                                            9                 Perfect 10 and Mr. Yamato’s Response to
                                                                              Document Request No. 7. ................................................................ 13
                                                          10
                                                                           Document Request No. 8. .................................................................. 13
                                                          11
                                                                              Perfect 10 and Mr. Yamato’s Response to
                                                          12                  Document Request No. 8. ................................................................ 13
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13               Document Request No. 9. .................................................................. 13
                                          SAN FRANCISCO




                                                          14                  Perfect 10 and Mr. Yamato’s Response to
                                                                              Document Request No. 9. ................................................................ 13
                                                          15
                                                                           Document Request No. 10. ................................................................ 13
                                                          16
                                                                              Perfect 10 and Mr. Yamato’s Response to
                                                          17                  Document Request No. 10. .............................................................. 14
                                                          18               Document Request No. 11. ................................................................ 14
                                                          19                  Perfect 10 and Mr. Yamato’s Response to
                                                                              Document Request No. 11. .............................................................. 14
                                                          20
                                                                           Document Request No. 12. ................................................................ 14
                                                          21
                                                                              Perfect 10 and Mr. Yamato’s Response to
                                                          22                  Document Request No. 12. .............................................................. 14
                                                          23               Document Request No. 13. ................................................................ 14
                                                          24                  Perfect 10 and Mr. Yamato’s Response to
                                                                              Document Request No. 13. .............................................................. 15
                                                          25
                                                                     A.    Requests Nos. 5-13 Seek Relevant and Discoverable
                                                          26               Documents About Both the Substantive Claims and Defenses
                                                                           and the Credibility of Mr. Yamato....................................................... 15
                                                          27
                                                          28    MEMO. ISO DFTS.’ MOT. TO COMPEL                                      CASE NO. 11-cv-07098-ABC (SHx)
                                                                DISCOVERY COMPLIANCE FROM YAMATO,
                                                                                                                 ii
                                                                AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 4 of 34 Page ID
                                                                                           #:12737


                                                            1                                     TABLE OF CONTENTS
                                                                                                        (Cont.)
                                                            2                                                                                                                 Page
                                                            3        B.    This Court Should Order a Sworn Declaration Detailing All
                                                                           Efforts to Locate Documents Responsive to Requests
                                                            4              Nos. 5-13. ............................................................................................. 16
                                                            5        C.    The Court Should Compel Mr. Yamato to Produce All Non-
                                                                           Privileged Documents Responsive to Requests Nos. 5-13. ................. 16
                                                            6
                                                                     D.    No Privilege Protects Any Documents Responsive to
                                                            7              Requests Nos. 5, 7, 9, and 10 From Disclosure. .................................. 17
                                                            8              Document Request No. 14. ................................................................ 18
                                                            9                 Perfect 10 and Mr. Yamato’s Response to
                                                                              Document Request No. 14. .............................................................. 18
                                                          10
                                                                           Document Request No. 15. ................................................................ 18
                                                          11
                                                                              Perfect 10 and Mr. Yamato’s Response to
                                                          12                  Document Request No. 15. .............................................................. 18
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13               Document Request No. 16. ................................................................ 19
                                          SAN FRANCISCO




                                                          14                  Perfect 10 and Mr. Yamato’s Response to
                                                                              Document Request No. 16. .............................................................. 19
                                                          15
                                                                     A.    The Court Has Already Recognized the Relevance of the
                                                          16               Information Sought by Requests Nos. 14-16. ...................................... 19
                                                          17         B.    No Privacy Interest Protects the Disclosure of this
                                                                           Information........................................................................................... 20
                                                          18
                                                                     C.    Mr. Yamato’s Claim that He has No Responsive Documents
                                                          19               is Not Credible. .................................................................................... 20
                                                          20         D.    This Court Should Order Mr. Yamato and Objecting Counsel
                                                                           to Provide Sworn Declarations Detailing All Efforts to
                                                          21               Locate Responsive Documents. ........................................................... 21
                                                          22               Request for Production No. 17.......................................................... 21
                                                          23                  Perfect 10 and Mr. Yamato’s Response to
                                                                              Document Request No. 17. .............................................................. 22
                                                          24
                                                                           Request for Production No. 18.......................................................... 22
                                                          25
                                                                              Perfect 10 and Mr. Yamato’s Response to
                                                          26                  Document Request No. 18. .............................................................. 22
                                                          27
                                                          28    MEMO. ISO DFTS.’ MOT. TO COMPEL                                               CASE NO. 11-cv-07098-ABC (SHx)
                                                                DISCOVERY COMPLIANCE FROM YAMATO,
                                                                                                                      iii
                                                                AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 5 of 34 Page ID
                                                                                           #:12738


                                                            1                                        TABLE OF CONTENTS
                                                                                                           (Cont.)
                                                            2                                                                                                              Page
                                                            3          A.      Defendants’ Requests Seek Relevant and Discoverable
                                                                               Documents, and Again the Court Has Already Compelled
                                                            4                  Perfect 10 to Produce the Same Information. ...................................... 22
                                                            5          B.      This Court Should Order Mr. Yamato and his Counsel to
                                                                               Provide Sworn Declarations Detailing All Efforts to Locate
                                                            6                  Responsive Documents. ....................................................................... 23
                                                            7          C.      The Court Should Compel Mr. Yamato to Produce all Non-
                                                                               Privileged Responsive Documents, Because Any Assertion
                                                            8                  that Such Documents Do Not Exist Lacks Credibility. ....................... 24
                                                            9          D.      No Privilege Protects Any Documents Responsive to
                                                                               Request No. 17 From Disclosure. ........................................................ 25
                                                          10
                                                                III.   CONCLUSION .............................................................................................. 25
                                                          11
                                                                       A.      The Court Should Order Mr. Yamato Immediately to
                                                          12                   Comply with His Discovery Obligations. ............................................ 25
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13           B.      The Court Should Award Monetary Sanctions For Mr.
                                          SAN FRANCISCO




                                                                               Yamato’s Unjustified Discovery Noncompliance and
                                                          14                   Objecting Counsel’s Complete Failure to Meet and Confer. .............. 26
                                                          15
                                                          16
                                                          17
                                                          18
                                                          19
                                                          20
                                                          21
                                                          22
                                                          23
                                                          24
                                                          25
                                                          26
                                                          27
                                                          28    MEMO. ISO DFTS.’ MOT. TO COMPEL                                               CASE NO. 11-cv-07098-ABC (SHx)
                                                                DISCOVERY COMPLIANCE FROM YAMATO,
                                                                                                                        iv
                                                                AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 6 of 34 Page ID
                                                                                           #:12739


                                                            1                                        TABLE OF AUTHORITIES
                                                                                                                                                                         Page(s)
                                                            2
                                                            3 CASES
                                                            4 A. Farber & Partners, Inc. v. Garber,
                                                                 234 F.R.D. 186 (C.D. Cal. 2006) .................................................................... 5, 21
                                                            5
                                                              CP Kelco U.S. Inc. v. Pharmacia Corp.,
                                                            6    213 F.R.D. 176 (D. Del. 2003) .............................................................................. 8
                                                           7 Duran v. Cisco Sys., Inc.,
                                                                 258 F.R.D. 375 (C.D. Cal. 2009) .......................................................................... 6
                                                           8
                                                             In re Application of Republic of Ecuador,
                                                           9     280 F.R.D. 506 (N.D. Cal. 2012), aff'd sub nom.
                                                                 Republic of Ecuador v. Mackay, 742 F.3d 860 (9th Cir. 2014) .......................... 11
                                                          10
                                                             In re CitiMortgage, Inc., Home Affordable Modification Program
                                                          11     (“HAMP”),
                                                                 No. MDL 11-2274-DSF, 2012 WL 10450139 at *5
                                                          12     (C.D. Cal. June 7, 2012) ........................................................................................ 5
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 In re Syncor Erisa Litig.,
                                          SAN FRANCISCO




                                                                 229 F.R.D. 636 (C.D. Cal. 2005) .......................................................................... 7
                                                          14
                                                             Metzler Contracting Co. LLC v. Stephens,
                                                          15     642 F. Supp. 2d 1192 (D. Haw. 2009) .................................................................. 8
                                                          16 Nat’l Acad. of Recording Arts & Sciences, Inc. v. On Point Events, LP,
                                                               256 F.R.D. 678 (C.D. Cal. 2009) .................................................................... 5, 21
                                                          17
                                                             Qualcomm Inc. v. Broadcom Corp.,
                                                          18   No. 05-cv-1958-B (BLM), 2008 U.S. Dist. LEXIS 911
                                                               (S.D. Cal. Jan. 7, 2008) ......................................................................................... 5
                                                          19
                                                             Republic of Ecuador v. Mackay,
                                                          20   742 F.3d 860 (9th Cir. 2014) ................................................................................. 8
                                                          21 Tikkun v. City of New York,
                                                                265 F.R.D. 152 (S.D.N.Y. 2010) ........................................................................... 8
                                                          22
                                                             United States v. Abel,
                                                          23    469 U.S. 45 (1984) .............................................................................................. 15
                                                          24 United States v. Cathcart,
                                                               No. C 07-4762 PJH, 2009 WL 1764642 (N.D. Cal. June 18, 2009)................... 15
                                                          25
                                                             Walt Disney Co. v. DeFabiis,
                                                          26   168 F.R.D. 281 (C.D. Cal 1996) ......................................................................... 26
                                                          27
                                                          28    MEMO. ISO DFTS.’ MOT. TO COMPEL                                                CASE NO. 11-cv-07098-ABC (SHx)
                                                                DISCOVERY COMPLIANCE FROM YAMATO,
                                                                                                                          v
                                                                AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 7 of 34 Page ID
                                                                                           #:12740


                                                            1                                           TABLE OF AUTHORITIES
                                                                                                               (Cont.)
                                                            2                                                                                                                    Page(s)
                                                            3 STATUTES
                                                            4 Digital Millennium Copyright Act ........................................................................... 24
                                                            5 RULES
                                                            6 Civ. L.R. 37................................................................................................................. 2
                                                            7 Civ. L.R. 37-1 ......................................................................................................... 1, 3
                                                            8 Civ. L.R. 37-2 ............................................................................................................. 1
                                                            9 Civ. L.R. 37-4 ............................................................................................................. 2
                                                          10
                                                          11
                                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                          14
                                                          15
                                                          16
                                                          17
                                                          18
                                                          19
                                                          20
                                                          21
                                                          22
                                                          23
                                                          24
                                                          25
                                                          26
                                                          27
                                                          28     MEMO. ISO DFTS.’ MOT. TO COMPEL                                                     CASE NO. 11-cv-07098-ABC (SHx)
                                                                 DISCOVERY COMPLIANCE FROM YAMATO,
                                                                                                                               vi
                                                                 AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 8 of 34 Page ID
                                                                                           #:12741


                                                            1 I.      INTRODUCTION
                                                            2         Pursuant to Local Rule 37-2.4, Defendants Giganews, Inc. and Livewire
                                                            3 Services, Inc. (collectively, “Defendants”) submit this Memorandum in support of
                                                            4 their Motion to Compel Discovery Compliance from Craig Ken Yamato II.1
                                                            5         On April 24, 2014, Defendants served Mr. Yamato with a subpoena for the
                                                            6 production of documents. On May 1, 2014, counsel for Plaintiff Perfect 10, Inc.
                                                            7 (“Plaintiff” or “Perfect 10”) and Mr. Yamato (“Objecting Counsel”) served their
                                                            8 objections and responses to Defendants’ subpoena. In their responses, Perfect 10
                                                            9 and Mr. Yamato asserted that the requested documents either did not exist or, to the
                                                          10 extent that they did, were protected from disclosure because of a privilege or
                                                          11 privacy interest. In essence, these responses served as an attempt to avoid having to
                                                          12 produce any responsive documents at all.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13          Starting May 9, 2014, Defendants repeatedly sent correspondence to counsel
                                          SAN FRANCISCO




                                                          14 for Perfect 10 and Mr. Yamato identifying the deficiencies in their discovery
                                                          15 responses and calling for a telephonic conference pursuant to Local Rule 37-1. At
                                                          16 no point did Objecting Counsel acknowledge the issues that Defendants had raised.
                                                          17 Nor did Objecting Counsel respond to Defendants’ demands for a telephonic
                                                          18 conference.
                                                          19          Although Mr. Yamato produced a dozen responsive documents on May 27,
                                                          20 2014, neither Perfect 10 nor Mr. Yamato certified that they had agreed to produce
                                                          21 all non-privileged responsive documents and that they had, in fact, done so. In fact,
                                                          22
                                                          23    1
                                                                   As discussed in greater detail below, Defendants made repeated requests for a
                                                                meet and confer conference to discuss the issues regarding Perfect 10, Inc. and Mr.
                                                          24    Yamato’s responses to Defendants’ document subpoena to Mr. Yamato. Counsel
                                                                for Perfect 10 and Mr. Yamato failed to meet and confer in the time period required
                                                          25    under Local Rule 37-1 or even to acknowledge Defendants’ requests. Therefore,
                                                                rather than filing the instant motion through the typical joint stipulation process,
                                                          26    Defendants must file this motion pursuant to Local Rule 37-2.4. Because
                                                                Defendants bring this motion under Local Rule 37-2.4, Local Rules 6-1, 7-9 and 7-
                                                          27    10 apply. Defendants’ Memorandum generally follows the approach that the Court
                                                                requires for a joint stipulation in support of a motion to compel.
                                                          28
                                                                MEMO. ISO DFTS.’ MOT. TO COMPEL           1                 CASE NO. 11-CV-07098-ABC(SHX)
                                                                DISCOVERY COMPLIANCE FROM YAMATO,
                                                                AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 9 of 34 Page ID
                                                                                           #:12742


                                                            1 Defendants’ review of Mr. Yamato’s production reveals that additional responsive
                                                            2 documents almost certainly exist within Mr. Yamato’s possession, custody or
                                                            3 control, and further that any asserted claim of privilege or privacy interest is
                                                            4 illegitimate.
                                                            5          Defendants served Mr. Yamato with a subpoena for documents to obtain the
                                                            6 responsive documents before his scheduled deposition on June 9, 2014. With Mr.
                                                            7 Yamato and Objecting Counsel showing no cooperation, Defendants respectfully
                                                            8 ask the Court to resolve this dispute.
                                                            9          Accordingly, the Court should enter Defendants’ proposed order compelling
                                                          10 Mr. Yamato to produce all non-privileged responsive documents immediately.
                                                          11 Further, in light of Objecting Counsel’s wholesale failure to comply with or
                                                          12 cooperate in the meet-and-confer procedures set forth under Local Rule 37, this
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 Court should also award Defendants their reasonable attorneys’ fees and costs as
                                          SAN FRANCISCO




                                                          14 sanctions against Perfect 10 and Mr. Yamato for their discovery noncompliance
                                                          15 pursuant to Local Rule 37-4, as well as any other monetary sanctions this Court
                                                          16 deems proper.
                                                          17           Defendants attach a copy of the Court’s Scheduling Order as Exhibit A to
                                                          18 the Declaration of Joseph S. Belichick (“Belichick Decl.”), which accompanies this
                                                          19 Memorandum. Discovery closes on June 30, 2014.
                                                          20 / / /
                                                          21 / / /
                                                          22 / / /
                                                          23 / / /
                                                          24 / / /
                                                          25 / / /
                                                          26 / / /
                                                          27 / / /
                                                          28 / / /
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY      2                CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 10 of 34 Page ID
                                                                                            #:12743


                                                            1 II.     THE DISCOVERY REQUESTS AND RESPONSES AT ISSUE2
                                                            2         Document Request No. 1.3
                                                            3         All documents concerning communications with any person or entity
                                                            4 regarding Giganews or Livewire.
                                                            5         Perfect 10 and Mr. Yamato’s Response to Document Request No. 1.
                                                            6         Subject to, and without waiving the foregoing General Objections, after a
                                                            7 reasonable and diligent search, Yamato responds he has no such documents in his
                                                            8 possession, custody or control.
                                                            9         Document Request No. 2.
                                                           10         All documents concerning your knowledge or awareness of Giganews or
                                                           11 Livewire.
                                                           12         Perfect 10 and Mr. Yamato’s Response to Document Request No. 2.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13         Subject to, and without waiving the foregoing specific and General
                                          SAN FRANCISCO




                                                           14 Objections, after a reasonable and diligent search, Yamato responds that other than
                                                           15
                                                           16   2
                                                                   After reviewing Perfect 10 and Mr. Yamato’s responses and objections to
                                                           17   Defendants’ subpoena for production of documents, Defendants sent a meet-and-
                                                                confer letter dated May 9, 2014, which addressed in detail the deficiencies with
                                                           18   these responses, objections, and failures to produce. Belichick Decl., Ex. B [May 9,
                                                           19   2014 Letter from Belichick to Locke] at 1-5. Objecting Counsel did not respond
                                                                and failed to conduct a conference by May 19, 2014, as Local Rule 37-1 required.
                                                           20   Id. at ¶4. Defendants sent a follow-up letter on May 23, 2014. Id. at ¶5, Ex. C
                                                           21   [May 23, 2014 Letter from Gregorian to Locke]. Once again, Objecting Counsel
                                                                failed to respond and to conduct a conference, as requested. Id. at ¶6. On May 27,
                                                           22   2014, Defendants sent a follow-up email to Objecting Counsel, attaching the May
                                                           23   23 letter and requesting a conference. Id. at ¶7, Ex. D [May 27, 2014 Email from
                                                                Gregorian to Locke]. Later that same day, Defendants received a dozen documents
                                                           24   from Objecting Counsel, including some emails between Norman Zada and Mr.
                                                           25   Yamato, without any statement about the issues raised in Defendants’
                                                                correspondence or Objecting Counsel’s failure to meet-and-confer. Id. at ¶9, Ex. E
                                                           26   [May 27, 2014 Production Letter from Poblete to Counsel].
                                                           27   3
                                                                 For the Court’s convenience, Defendants group together for argument Requests
                                                           28 Nos. 1-3, which call for similar subject matter.
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY     3               CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 11 of 34 Page ID
                                                                                            #:12744


                                                            1 documents protected by the attorney-client and work product privileges in
                                                            2 connection with the preparation of his Declaration in this case, he has no other
                                                            3 responsive documents in his possession, custody or control.
                                                            4         Document Request No. 3.
                                                            5         All documents concerning Perfect 10’s knowledge or awareness of Giganews
                                                            6 or Livewire.
                                                            7         Perfect 10 and Mr. Yamato’s Response to Document Request No. 3.
                                                            8         Subject to, and without waiving the foregoing General Objections, after a
                                                            9 reasonable and diligent search, Yamato responds he has no such documents in his
                                                           10 possession, custody or control.
                                                           11         A.     The Requested Documents are Relevant to the Issues in this Case.
                                                           12         There is no serious question that these document requests seek relevant and
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 discoverable documents. Indeed, the Court has already considered similar
                                          SAN FRANCISCO




                                                           14 discovery requests that Defendants served on Perfect 10 and granted Defendants’
                                                           15 motions to compel regarding these similar requests. See Dkt. 223 (regarding RFP
                                                           16 No. 1) and Dkt. 254 (regarding RFP No. 4 – “All documents, including all
                                                           17 communications, concerning Giganews, Livewire, or any of their services” – and
                                                           18 RFP No. 64 – “All communications between Perfect 10 and any Person regarding
                                                           19 any Defendant or this litigation.”). Further, by failing to raise any specific
                                                           20 objection to these document requests based on relevance, Perfect 10 and Mr.
                                                           21 Yamato waived any relevance objections and effectively conceded that the
                                                           22 requested documents are relevant to the issues in this case.
                                                           23         B.     Mr. Yamato Has Not Established that He Performed a Reasonable
                                                           24                and Diligent Search for Responsive Documents.
                                                           25         Perfect 10 and Mr. Yamato’s responses to these requests rely in principal part
                                                           26 on the representation that, “after a reasonable and diligent search,” Mr. Yamato has
                                                           27 no non-privileged, responsive documents within his possession, custody or control.
                                                           28 But Defendants cannot accept this unsupported general assertion that no responsive
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    4                CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 12 of 34 Page ID
                                                                                            #:12745


                                                            1 documents exist, particularly in light of Perfect 10’s consistent use of similar tactics
                                                            2 and evasions regarding Defendants’ subpoenas to other third-party witnesses
                                                            3 affiliated with Perfect 10, which remain in dispute. See [Joint Stipulation on
                                                            4 Defendants’ Motion to Compel Discovery Compliance from Third-Party Witnesses.
                                                            5          Individuals responding to discovery have an affirmative obligation to
                                                            6 conduct a “reasonable inquiry” into the factual basis of its discovery responses.
                                                            7 Nat’l Acad. of Recording Arts & Sciences, Inc. v. On Point Events, LP, 256 F.R.D.
                                                            8 678, 680 (C.D. Cal. 2009); A. Farber & Partners, Inc. v. Garber, 234 F.R.D. 186,
                                                            9 189-90 (C.D. Cal. 2006). Consistent with this obligation, “[t]he Federal Rules
                                                           10 impose an affirmative duty upon lawyers to engage in discovery in a responsible
                                                           11 manner and to conduct a ‘reasonable inquiry’ to determine whether discovery
                                                           12 responses are sufficient and proper.” See Qualcomm Inc. v. Broadcom Corp., No.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 05-cv-1958-B (BLM), 2008 U.S. Dist. LEXIS 911, at *47 (S.D. Cal. Jan. 7, 2008)
                                          SAN FRANCISCO




                                                           14 (emphasis added). But, because Objecting Counsel never responded to Defendants’
                                                           15 repeated demands for a meet-and-confer, Defendants have had no opportunity to
                                                           16 confirm whether Mr. Yamato performed a reasonable inquiry or whether Objecting
                                                           17 Counsel properly supervised Mr. Yamato’s alleged discovery compliance efforts.
                                                           18          Accordingly, this Court should—at minimum—order Mr. Yamato and
                                                           19 Objecting Counsel to provide sworn declarations detailing all efforts they have
                                                           20 made to locate documents responsive to each of Defendants’ document requests.
                                                           21 This measure is necessary in light of Perfect 10’s and Mr. Yamato’s boilerplate
                                                           22 contentions that no responsive documents exist within Mr. Yamato’s possession.
                                                           23 See In re CitiMortgage, Inc., Home Affordable Modification Program (“HAMP”),
                                                           24 No. MDL 11-2274-DSF, 2012 WL 10450139 at *5 (C.D. Cal. June 7, 2012)
                                                           25 (reasonable inquiry may be established through declarations under oath detailing
                                                           26 the nature of the efforts to locate responsive documents on a request-by-request
                                                           27 basis); A. Farber & Partners, Inc. v. Garber, 234 F.R.D. 186, 190 (C.D. Cal. 2006)
                                                           28 (“[T]o assure . . . a ‘reasonable inquiry,’ the Court will order . . . declarations or
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY        5                 CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 13 of 34 Page ID
                                                                                            #:12746


                                                            1 affidavits detailing the nature of his ‘reasonable inquiry’ to locate responsive
                                                            2 documents, and such declarations must address the inquiry he made on a request-
                                                            3 by-request basis.”); Cf. Duran v. Cisco Sys., Inc., 258 F.R.D. 375, 383 (C.D. Cal.
                                                            4 2009) (ordering responding party to provide declarations detailing the factual bases
                                                            5 of its “reasonable inquiry” to obtain responsive information).
                                                            6         C.     The Court Should Compel Further Production Because
                                                            7                Responsive Documents Necessarily Exist Within Mr. Yamato’s
                                                            8                Possession, Custody or Control.
                                                            9         In connection with Perfect 10’s reply briefing in support of its unsuccessful
                                                           10 motion for a preliminary injunction, Mr. Yamato submitted a declaration containing
                                                           11 several opinions about Giganews’ ability to identify and disable access to messages
                                                           12 constituting or containing allegedly infringing images. Dkt. 67. Perfect 10 filed
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 this declaration three years ago. Any contention that Mr. Yamato has no responsive
                                          SAN FRANCISCO




                                                           14 and relevant documents in his possession is not credible, to say the least, or raises
                                                           15 serious questions regarding spoliation of evidence.
                                                           16         Request Nos. 1-3 generally seek documents regarding Giganews or Livewire,
                                                           17 including Perfect 10’s and Mr. Yamato’s knowledge or awareness of them. Mr.
                                                           18 Yamato likely has responsive documents in his possession, because Mr. Yamato’s
                                                           19 declaration specifically provides opinions about Giganews’ operations and
                                                           20 capabilities. If such documents did not exist, as Perfect 10 and Mr. Yamato
                                                           21 contend, the entire basis for the opinions in Mr. Yamato’s declaration becomes
                                                           22 suspect and Mr. Yamato may have committed perjury in his declaration..
                                                           23         Further, the few documents produced on behalf of Mr. Yamato on May 27,
                                                           24 2014 confirm that responsive materials do indeed exist within Mr. Yamato’s
                                                           25 possession. For instance, Mr. Yamato’s production includes multiple email threads
                                                           26 between himself and Mr. Zada exchanging drafts of his declaration. See, e.g.,
                                                           27 Belichick Decl. at ¶10, Ex. F [Aug. 28, 2011 Email chain between Yamato and
                                                           28 Zada]. These emails not only show that responsive documents exist within Mr.
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    6             CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 14 of 34 Page ID
                                                                                            #:12747


                                                            1 Yamato’s possession, but they also confirm that Mr. Yamato’s production to date is
                                                            2 incomplete; specifically, the email chains identify multiple early drafts of Mr.
                                                            3 Yamato’s declaration that have not yet been produced. Id. Mr. Yamato’s
                                                            4 production also contains email from another Perfect 10 witness, Sean Chumura,
                                                            5 which identifies an early draft of a declaration from Mr. Chumura as an attachment.
                                                            6 Id. at ¶11, Ex. G [Aug. 28, 2011 Email from Chumura to Yamato]. Mr. Yamato has
                                                            7 not produced this document either. Id.
                                                            8         Because common sense, logic, and Mr. Yamato’s limited production confirm
                                                            9 that additional relevant documents likely exist within his possession, this Court
                                                           10 should compel Mr. Yamato to produce all non-privileged documents responsive to
                                                           11 these requests.
                                                           12         D.    No Privilege Protects Any Documents Responsive to Request No. 2
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13               From Disclosure.
                                          SAN FRANCISCO




                                                           14         As discussed above, Mr. Yamato already submitted a declaration in this
                                                           15 matter. Dkt. 67. To date, Defendants have had no opportunity to test the purported
                                                           16 basis for Mr. Yamato’s opinions. Belichick Decl. at ¶13. Accordingly, Defendants
                                                           17 drafted Request No. 2, which calls for documents about Mr. Yamato’s
                                                           18 understanding of Giganews and/or Livewire, to uncover what Mr. Yamato actually
                                                           19 knows about Defendants’ services and what he knew at the time of his declaration.
                                                           20 In his response, Mr. Yamato contends that the only existing documents are
                                                           21 protected from disclosure by attorney-client and work product privileges.
                                                           22         Mr. Yamato’s privilege claim fails on three counts. First, Perfect 10 waived
                                                           23 any privilege that could theoretically attach when it voluntarily disclosed protected
                                                           24 documents or communications to Mr. Yamato, a third-party. In re Syncor Erisa
                                                           25 Litig., 229 F.R.D. 636, 645 (C.D. Cal. 2005) (granting motion to compel in the face
                                                           26 of privilege and work product objections due to disclosure to third party). Second,
                                                           27 even if this Court were to consider Mr. Yamato an expert witness, no privilege
                                                           28 would apply because Perfect 10 submitted a declaration containing Mr. Yamato’s
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    7               CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 15 of 34 Page ID
                                                                                            #:12748


                                                            1 testimony. Metzler Contracting Co. LLC v. Stephens, 642 F. Supp. 2d 1192, 1205
                                                            2 (D. Haw. 2009) (no privilege for experts “who are anticipated to testify”); see also
                                                            3 Tikkun v. City of New York, 265 F.R.D. 152, 155 (S.D.N.Y. 2010) (“When a party
                                                            4 provides an expert with information to consider in connection with offering an
                                                            5 opinion, the party forfeits whatever privilege might attach to that information.”);
                                                            6 CP Kelco U.S. Inc. v. Pharmacia Corp., 213 F.R.D. 176, 179 (D. Del. 2003)
                                                            7 (holding that “the disclosure of the allegedly privileged information to an expert
                                                            8 that [a party] put forward to give expert testimony” waived any purported
                                                            9 privilege). Cf. Republic of Ecuador v. Mackay, 742 F.3d 860, 871 (9th Cir. 2014)
                                                           10 (holding that there is no “presumptive protection for all testifying expert materials
                                                           11 as trial preparation materials”).
                                                           12         Third, Mr. Yamato’s limited production of documents to date shows that he
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 has no credible claim of privilege (and neither does Perfect 10). As stated above,
                                          SAN FRANCISCO




                                                           14 Mr. Yamato’s production contains multiple emails between himself and Mr. Zada,
                                                           15 a non-attorney. See, e.g., Belichick Decl. at ¶10, Ex. F [Aug. 28, 2011 Email chain
                                                           16 between Yamato and Zada]. These documents cannot even arguably be
                                                           17 characterized as attorney-client communications. Further, given Mr. Zada’s
                                                           18 extensive involvement in drafting Mr. Yamato’s declaration, it remains likely that
                                                           19 only few, if any, documents in connection with the preparation of Mr. Yamato’s
                                                           20 declaration even reflect communications with attorneys.
                                                           21         Because neither Mr. Yamato nor Perfect 10 can support a credible legal or
                                                           22 factual basis of privilege, this Court should not limit the scope of Mr. Yamato’s
                                                           23 production of responsive documents on the basis of privilege.
                                                           24         Document Request No. 4.
                                                           25         All documents concerning communications from, to, or with (including as cc:
                                                           26 or bcc: recipient) Perfect 10, Norman Zada (also known as Norman Zadeh), Daniel
                                                           27 Cooper, Randall (Randy) Lewis, Natalie Locke, Lynell Davis, Melanie Poblete,
                                                           28 Sean Chumura, Craig Yamato, Szabolcs Apai, Heena Chou, Inna Khusid,
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    8           CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 16 of 34 Page ID
                                                                                            #:12749


                                                            1 Gwendalyn Augustine, Wendy Augustine, Rebekah Chaney, Danuta Arnold,
                                                            2 Amber Rangel, Craig Yamato, Craig Yamato, or Eileen Yamato, including but not
                                                            3 limited to communications regarding (a) potential or actual copyright infringement,
                                                            4 (b) potential or actual litigation, (c) the Usenet, (d) Giganews, or (e) Livewire, or (f)
                                                            5 your work.
                                                            6          Perfect 10 and Mr. Yamato’s Response to Document Request No. 4.
                                                            7          Yamato and Perfect 10 further object to the request on the ground that it
                                                            8 seeks irrelevant documents. Yamato and Perfect 10 further object to this request on
                                                            9 the ground that it is not reasonably calculated to lead to the discovery of admissible
                                                           10 evidence. Yamato and Perfect 10 further object to this request on the ground that it
                                                           11 is overly broad, burdensome, vague and ambiguous. Yamato and Perfect 10 further
                                                           12 object to this request on the ground that it is vague as to time and does not specify
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 any applicable time period. Yamato and Perfect 10 object to the request to the
                                          SAN FRANCISCO




                                                           14 extent it seeks the disclosure of information subject to the attorney-client privilege
                                                           15 and attorney work product doctrine.
                                                           16          Subject to, and without waiving the foregoing specific and General
                                                           17 Objections, after a reasonable and diligent search, Yamato responds that other than
                                                           18 documents protected by the attorney-client and work product privileges in
                                                           19 connection with the preparation of his Declaration in this case, he has no other
                                                           20 responsive documents in his possession, custody or control.
                                                           21          A.     Request No. 4 Seeks Relevant and Discoverable Documents About
                                                           22                 Mr. Yamato’s Communications with Other Witnesses Affiliated
                                                           23                 with Perfect 10.
                                                           24          Request No. 4 seeks all documents concerning communications between Mr.
                                                           25 Yamato and certain identified witnesses involved in Perfect 10’s potential or actual
                                                           26 lawsuits, potential or actual copyright infringement, Usenet, Defendants, and the
                                                           27 work Mr. Yamato performed. The requested documents are directly relevant to the
                                                           28
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY      9                 CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 17 of 34 Page ID
                                                                                            #:12750


                                                            1 substantive claims and defenses, as well as the credibility of Perfect 10’s CEO and
                                                            2 other personnel, and the appropriateness of various remedies.
                                                            3          As with the document requests discussed in the previous section, this Court
                                                            4 has already recognized the undeniable relevance of these materials by granting
                                                            5 Defendants’ motions to compel with respect to similar requests. See Dkt. 223
                                                            6 (regarding RFP No. 1) and Dkt. 254 (regarding RFP Nos. 4 and 64). Although this
                                                            7 request seeks documents beyond those dealing directly with Defendants or this
                                                            8 litigation, it is not unduly overbroad because the request focuses on
                                                            9 communications between persons known to have worked at Perfect 10 during the
                                                           10 time that Perfect 10 has been involved in a series of copyright infringement cases,
                                                           11 when Perfect 10 first learned of Defendants and their services. Therefore, Perfect
                                                           12 10’s knowledge and conduct during this time period, as reflected in its internal
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 communications, are relevant to the issues in this litigation.
                                          SAN FRANCISCO




                                                           14          B.     This Court Should Order a Sworn Declaration Detailing All
                                                           15                 Efforts to Locate Documents Responsive to Request No. 4.
                                                           16          Perfect 10’s and Mr. Yamato’s responses to this request assert that Mr.
                                                           17 Yamato has no non-privileged responsive documents. But, as noted above,
                                                           18 Defendants have no way of knowing whether either Mr. Yamato or counsel
                                                           19 performed a reasonable inquiry for responsive documents, because Objecting
                                                           20 Counsel never responded to Defendants’ repeated demands for a meet-and-confer
                                                           21 teleconference. This Court should therefore order Mr. Yamato and Objecting
                                                           22 Counsel to provide sworn declarations detailing any and all efforts they have made
                                                           23 to locate responsive documents in connection with the responses they furnished.
                                                           24 / / /
                                                           25 / / /
                                                           26 / / /
                                                           27 / / /
                                                           28 / / /
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY      10                 CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 18 of 34 Page ID
                                                                                            #:12751


                                                            1         C.     The Court Should Compel Mr. Yamato to Produce Further
                                                            2                Documents Because Non-Privileged Documents Responsive to
                                                            3                Request No. 4 Likely Exist Within Mr. Yamato’s Possession,
                                                            4                Custody or Control.
                                                            5         Contrary to the assertions inherent in Perfect 10 and Mr. Yamato’s
                                                            6 boilerplate responses, Request No. 4 seeks documents concerning not only
                                                            7 attorney-expert communications but also communications between Mr. Yamato and
                                                            8 non-attorney third parties. This latter category could not conceivably fall within the
                                                            9 scope of any privilege or protection. See In re Application of Republic of Ecuador,
                                                           10 280 F.R.D. 506, 516 (N.D. Cal. 2012), aff'd sub nom. Republic of Ecuador v.
                                                           11 Mackay, 742 F.3d 860 (9th Cir. 2014) (no protection whatsoever for
                                                           12 communications not between testifying expert and attorney).
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13         The small handful of documents produced on behalf of Mr. Yamato confirms
                                          SAN FRANCISCO




                                                           14 that Mr. Yamato has responsive documents within his possession. These
                                                           15 documents include email exchanges between Mr. Yamato and non-attorneys such
                                                           16 as Mr. Zada and Mr. Chumura. Belichick Decl. at ¶10, Ex. F [Aug. 28, 2011 Email
                                                           17 chain between Yamato and Zada], ¶11, Ex. G [Aug. 28, 2011 Email from Chumura
                                                           18 to Yamato]. As discussed above, Mr. Yamato’s production to date is incomplete
                                                           19 because the production omits several documents that the few documents produced
                                                           20 specifically identify. Further, one such email from Mr. Zada to Mr. Yamato
                                                           21 specifically asks “about why you [Mr. Yamato] have experience with the
                                                           22 USENET.” Belichick Decl. at ¶12, Ex. H [Aug. 29, 2011 Email from Zada to
                                                           23 Yamato]. This question strongly suggests that Mr. Yamato has additional
                                                           24 responsive documents in his possession.
                                                           25         Defendants have a right to these responsive and relevant documents, and this
                                                           26 Court should compel Mr. Yamato to produce all non-privileged documents
                                                           27 responsive to these requests. Further, as discussed above, neither Mr. Yamato nor
                                                           28 Perfect 10 has any legal or factual basis for any claim of privilege or work product
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY      11                CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 19 of 34 Page ID
                                                                                            #:12752


                                                            1 protection with respect to these documents. Defendants drafted Request No. 4 as a
                                                            2 complement to Request No. 2, in order to understand better the circumstances
                                                            3 leading up to the development of the declaration Mr. Yamato submitted in this
                                                            4 matter. See Dkt. 67. Because no credible claim of privilege exists, this Court
                                                            5 should not limit the scope of Mr. Yamato’s production of responsive documents
                                                            6 based on his assertion of privilege.
                                                            7         Document Request No. 5.4
                                                            8         Documents sufficient to identify all the dates of your employment by or other
                                                            9 work for Perfect 10, Norman Zada, or any other business in which Perfect 10 or
                                                           10 Norman Zada has or has had an ownership interest.
                                                           11         Perfect 10 and Mr. Yamato’s Response to Document Request No. 5.
                                                           12         Subject to, and without waiving the foregoing specific and General
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 Objections, after a reasonable and diligent search, Yamato responds that other than
                                          SAN FRANCISCO




                                                           14 documents protected by the attorney-client and work product privileges in
                                                           15 connection with the preparation of his Declaration in this case, he has no other
                                                           16 responsive documents in his possession, custody or control.
                                                           17         Document Request No. 6.
                                                           18         All Documents concerning contracts or agreements between you and Perfect
                                                           19 10, Norman Zada, or any other business in which Perfect 10 or Norman Zada has or
                                                           20 has had an ownership interest.
                                                           21         Perfect 10 and Mr. Yamato’s Response to Document Request No. 6.
                                                           22         Subject to, and without waiving the foregoing General Objections, after a
                                                           23 reasonable and diligent search, Yamato responds he has no such documents in his
                                                           24 possession, custody or control.
                                                           25
                                                           26
                                                                4
                                                           27    For the Court’s convenience and to avoid needless repetition, Defendants group
                                                              together for argument Requests Nos. 5-13 to Mr. Yamato, as these requests contain
                                                           28 similar subject matter.
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    12                CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 20 of 34 Page ID
                                                                                            #:12753


                                                            1         Document Request No. 7.
                                                            2         Documents sufficient to identify all relationships between you and Perfect 10
                                                            3 or Norman Zada, including professional, business, and social relationships.
                                                            4         Perfect 10 and Mr. Yamato’s Response to Document Request No. 7.
                                                            5         Subject to, and without waiving the foregoing specific and General
                                                            6 Objections, after a reasonable and diligent search, Yamato responds that other than
                                                            7 documents protected by the attorney-client and work product privileges in
                                                            8 connection with the preparation of his Declaration in this case, he has no other
                                                            9 responsive documents in his possession, custody or control.
                                                           10         Document Request No. 8.
                                                           11         All documents concerning any business or investment which you invested in,
                                                           12 participated in, assisted, or worked for that Perfect 10 or Norman Zada also
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 invested in, participated in, or worked for.
                                          SAN FRANCISCO




                                                           14         Perfect 10 and Mr. Yamato’s Response to Document Request No. 8.
                                                           15         Subject to, and without waiving the foregoing General Objections, after a
                                                           16 reasonable and diligent search, Yamato responds he has no such documents in his
                                                           17 possession, custody or control.
                                                           18         Document Request No. 9.
                                                           19         Documents sufficient to identify all work you performed for Perfect 10.
                                                           20         Perfect 10 and Mr. Yamato’s Response to Document Request No. 9.
                                                           21         Subject to, and without waiving the foregoing specific and General
                                                           22 Objections, after a reasonable and diligent search, Yamato responds that other than
                                                           23 documents protected by the attorney-client and work product privileges in
                                                           24 connection with the preparation of his Declaration in this case, he has no other
                                                           25 responsive documents in his possession, custody or control.
                                                           26         Document Request No. 10.
                                                           27         Documents sufficient to describe your job or work duties for Perfect 10 and
                                                           28 the approximate dates you performed those duties.
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    13                  CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 21 of 34 Page ID
                                                                                            #:12754


                                                            1          Perfect 10 and Mr. Yamato’s Response to Document Request No. 10.
                                                            2          Subject to, and without waiving the foregoing specific and General
                                                            3 Objections, after a reasonable and diligent search, Yamato responds that other than
                                                            4 documents protected by the attorney-client and work product privileges in
                                                            5 connection with the preparation of his Declaration in this case, he has no other
                                                            6 responsive documents in his possession, custody or control.
                                                            7          Document Request No. 11.
                                                            8          Documents sufficient to identify all compensation of any kind you have
                                                            9 received from Perfect 10, Norman Zada, or any business in which Norman Zada has
                                                           10 or had an ownership interest; whether the compensation was related to any
                                                           11 litigation; and if so, which litigation.
                                                           12          Perfect 10 and Mr. Yamato’s Response to Document Request No. 11.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13          Subject to, and without waiving the foregoing General Objections, Yamato
                                          SAN FRANCISCO




                                                           14 responds he has no such documents in his possession, custody or control as no
                                                           15 responsive documents exist.
                                                           16          Document Request No. 12.
                                                           17          All invoices you issued to Perfect 10 or Norman Zada.
                                                           18          Perfect 10 and Mr. Yamato’s Response to Document Request No. 12.
                                                           19          Subject to, and without waiving the foregoing General Objections, Yamato
                                                           20 responds he has no such documents in his possession, custody or control as no
                                                           21 responsive documents exist.
                                                           22          Document Request No. 13.
                                                           23          All Documents concerning any payments, monetary or other asset transfers,
                                                           24 loans, or advances you received from, or furnished to, Perfect 10, Norman Zada, or
                                                           25 any other business in which Perfect 10 or Norman Zada has or has had an
                                                           26 ownership interest.
                                                           27 / / /
                                                           28 / / /
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY      14              CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 22 of 34 Page ID
                                                                                            #:12755


                                                            1          Perfect 10 and Mr. Yamato’s Response to Document Request No. 13.
                                                            2          Subject to, and without waiving the foregoing General Objections, Yamato
                                                            3 responds he has no such documents in his possession, custody or control as no
                                                            4 responsive documents exist.
                                                            5          A.     Requests Nos. 5-13 Seek Relevant and Discoverable Documents
                                                            6                 About Both the Substantive Claims and Defenses and the
                                                            7                 Credibility of Mr. Yamato.
                                                            8          Requests Nos. 5-13 generally seek documents concerning Mr. Yamato’s
                                                            9 work for Perfect 10, Mr. Zada, and any other business in which Perfect 10 or Mr.
                                                           10 Zada has had an ownership interest, including documents regarding dates of
                                                           11 employment, contracts or agreements, work performed, job duties, the type of
                                                           12 relationships involved, compensation, and any financial dealings between the
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 Subpoenaed Witnesses, Perfect 10, and Mr. Zada. These documents are directly
                                          SAN FRANCISCO




                                                           14 relevant not only to the substantive claims and defenses in this case but also to the
                                                           15 credibility of Mr. Yamato, including any opinions Mr. Yamato already offered in
                                                           16 this case and those that he may offer in the future. As the Supreme Court has long
                                                           17 since noted, “[p]roof of bias is almost always relevant because the jury, as finder of
                                                           18 fact and weigher of credibility, has historically been entitled to assess all evidence
                                                           19 which might bear on the accuracy and truth of a witness’ testimony.” United States
                                                           20 v. Abel, 469 U.S. 45, 52 (1984); see also United States v. Cathcart, No. C 07-4762
                                                           21 PJH, 2009 WL 1764642 (N.D. Cal. June 18, 2009) (granting motion to compel
                                                           22 source for payment of legal fees as relevant to bias and credibility).
                                                           23          Neither Perfect 10 nor Mr. Yamato seriously disputes the relevance of the
                                                           24 documents. Indeed, by failing to raise any specific objection based on relevance,
                                                           25 Perfect 10 and Mr. Yamato agree that the requested documents are relevant to the
                                                           26 issues in this case.
                                                           27 / / /
                                                           28 / / /
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY      15               CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 23 of 34 Page ID
                                                                                            #:12756


                                                            1         B.     This Court Should Order a Sworn Declaration Detailing All
                                                            2                Efforts to Locate Documents Responsive to Requests Nos. 5-13.
                                                            3         Perfect 10 and Mr. Yamato’s responses to Requests 5-13 assert that Mr.
                                                            4 Yamato has no non-privileged, responsive documents within his possession,
                                                            5 custody or control. Additionally, Mr. Yamato raises a claim of privilege with
                                                            6 respect to Request Nos. 5, 7, 9, and 10. As discussed above, no privilege applies to
                                                            7 the requested documents. Also as noted above, Defendants cannot test whether
                                                            8 either Mr. Yamato or counsel performed a reasonable inquiry for responsive
                                                            9 materials, because Objecting Counsel never responded to Defendants’ repeated
                                                           10 demands for a meet-and-confer. This Court should therefore order Mr. Yamato and
                                                           11 Objecting Counsel to provide sworn declarations detailing any and all efforts they
                                                           12 made to locate documents responsive to these requests leading up to their response.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13         C.     The Court Should Compel Mr. Yamato to Produce All Non-
                                          SAN FRANCISCO




                                                           14                Privileged Documents Responsive to Requests Nos. 5-13.
                                                           15         As noted above, Mr. Yamato submitted a declaration in this case supporting
                                                           16 Perfect 10’s unsuccessful motion for preliminary injunction in September 2011.
                                                           17 Dkt. 67. But how and why Mr. Yamato, as a non-party, came to submit the
                                                           18 declaration remains a mystery. To this day, Defendants have little idea what
                                                           19 connection Mr. Yamato actually has to Perfect 10, Mr. Zada, or this litigation. The
                                                           20 fact that Mr. Yamato submitted a declaration, however, strongly suggests that he
                                                           21 has a paper trail somewhere in his possession.
                                                           22         The few documents appearing in Mr. Yamato’s limited production
                                                           23 demonstrate that additional responsive documents likely exist. For instance, Mr.
                                                           24 Yamato’s production contains certain email exchanges between Mr. Yamato and
                                                           25 Mr. Zada. Belichick Decl. at ¶10, Ex. F [Aug. 28, 2011 Email chain between
                                                           26 Yamato and Zada]. As established above, Defendants’ review of these documents
                                                           27 reveals that Mr. Yamato’s production is incomplete, because the production omits
                                                           28 several documents specifically identified within the other documents produced. But
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    16                 CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 24 of 34 Page ID
                                                                                            #:12757


                                                            1 beyond that facial deficiency in Mr. Yamato’s production-to-date, the few emails
                                                            2 produced only appear to discuss later revisions of Mr. Yamato’s declaration. This
                                                            3 suggests that, at the very least, other earlier or introductory communications
                                                            4 between Mr. Zada and Mr. Yamato likely exist. Accordingly, the Court should
                                                            5 compel Mr. Yamato to produce all non-privileged documents responsive to these
                                                            6 requests.
                                                            7          D.     No Privilege Protects Any Documents Responsive to Requests Nos.
                                                            8                 5, 7, 9, and 10 From Disclosure.
                                                            9          Contrary to Perfect 10 and Mr. Yamato’s assertions, no privilege protects the
                                                           10 documents Defendants sought by Requests Nos. 5, 7, 9, and 10. First and foremost,
                                                           11 the information sought by these requests does not fairly fall under the scope of any
                                                           12 privilege. Request No. 5 calls for documents sufficient to show dates of
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 employment. Request No. 7 requests documents sufficient to identify all
                                          SAN FRANCISCO




                                                           14 relationships between Mr. Yamato and Mr. Zada or Perfect 10. Requests Nos. 9
                                                           15 and 10 seek documents sufficient to identify the work Mr. Yamato performed for
                                                           16 Mr. Zada and Perfect 10, and any related job duties. Simply put, it is not credible
                                                           17 that any privilege or work product protection would protect documents responsive
                                                           18 to these requests from disclosure. In fact, because Yamato’s production contains
                                                           19 multiple emails between himself and Mr. Zada, a non-attorney, establishing the
                                                           20 basis for a privilege objection in the first instance is unlikely. See, e.g., Belichick
                                                           21 Decl. at ¶10, Ex. F [Aug. 28, 2011 Email chain between Yamato and Zada].
                                                           22 Further, as discussed above, even if some of the documents sought might fall into
                                                           23 privileged territory as a threshold matter, Perfect 10 has long since waived any
                                                           24 theoretical claim of privilege that may have once attached.
                                                           25 / / /
                                                           26 / / /
                                                           27 / / /
                                                           28 / / /
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY      17                CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 25 of 34 Page ID
                                                                                            #:12758


                                                            1         Document Request No. 14.5
                                                            2         Documents sufficient to identify all email addresses you have used for any
                                                            3 business purpose (including personal email addresses you used for any business
                                                            4 purpose) since you first performed any work for Perfect 10 or Norman Zada.
                                                            5         Perfect 10 and Mr. Yamato’s Response to Document Request No. 14.
                                                            6         Yamato and Perfect 10 further object to the request on the ground that it
                                                            7 seeks irrelevant documents. Yamato and Perfect 10 further object to this request on
                                                            8 the ground that it is not reasonably calculated to lead to the discovery of admissible
                                                            9 evidence. Yamato and Perfect 10 further object to this request on the ground that it
                                                           10 is overly broad, burdensome, vague and ambiguous. Yamato and Perfect 10 further
                                                           11 object to this request on the ground that it is vague as to time and does not specify
                                                           12 any applicable time period. Yamato further object to this request on the ground that
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 it invades Yamato’s privacy rights.
                                          SAN FRANCISCO




                                                           14         Document Request No. 15.
                                                           15         Documents sufficient to identify all IP addresses you have used for any
                                                           16 business purpose since you first performed any work Perfect 10 or Norman Zada.
                                                           17         Perfect 10 and Mr. Yamato’s Response to Document Request No. 15.
                                                           18         Yamato and Perfect 10 further object to the request on the ground that it
                                                           19 seeks irrelevant documents. Yamato and Perfect 10 further object to this request on
                                                           20 the ground that it is not reasonably calculated to lead to the discovery of admissible
                                                           21 evidence. Yamato and Perfect 10 further object to this request on the ground that it
                                                           22 is overly broad, burdensome, vague and ambiguous. Yamato and Perfect 10 further
                                                           23 object to this request on the ground that it is vague as to time and does not specify
                                                           24 any applicable time period. Yamato and Perfect 10 further object to this request on
                                                           25 the ground that it is unintelligible. Yamato objects to this request on the ground
                                                           26 that it invades Yamato’s privacy rights.
                                                           27   5
                                                                 For the Court’s convenience, Defendants group together for argument Requests
                                                           28 Nos. 14-16 to Mr. Yamato, as these requests contain similar subject matter.
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    18                CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 26 of 34 Page ID
                                                                                            #:12759


                                                            1         Subject to, and without waiving the foregoing General Objections, Yamato
                                                            2 responds he has no such documents in his possession, custody or control as no
                                                            3 responsive documents exist.
                                                            4         Document Request No. 16.
                                                            5         Documents sufficient to identify all IP addresses you have used for any
                                                            6 business purpose since you first performed any work Perfect 10 or Norman Zada.
                                                            7         Perfect 10 and Mr. Yamato’s Response to Document Request No. 16.
                                                            8         Yamato and Perfect 10 further object to the request on the ground that it
                                                            9 seeks irrelevant documents. Yamato and Perfect 10 further object to this request on
                                                           10 the ground that it is not reasonably calculated to lead to the discovery of admissible
                                                           11 evidence. Yamato and Perfect 10 further object to this request on the ground that it
                                                           12 is overly broad, burdensome, vague and ambiguous. Yamato and Perfect 10 further
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 object to this request on the ground that it is vague as to time and does not specify
                                          SAN FRANCISCO




                                                           14 any applicable time period. Yamato and Perfect 10 further object to this request on
                                                           15 the ground that it is unintelligible. Yamato objects to this request on the ground
                                                           16 that it invades Yamato’s privacy rights.
                                                           17         A.     The Court Has Already Recognized the Relevance of the
                                                           18                Information Sought by Requests Nos. 14-16.
                                                           19         These requests seek documents concerning the email addresses and IP
                                                           20 addresses that Mr. Yamato used in connection with his work for Perfect 10 and Mr.
                                                           21 Zada, as well as all names Mr. Yamato personally or professionally used. These
                                                           22 requests squarely seek relevant and discoverable information. As this Court already
                                                           23 recognized in its April 24, 2014 Order, Defendants are entitled to this information.
                                                           24 Dkt. 254. In that Order, this Court ordered production with respect to: (1) Request
                                                           25 Nos. 7-9 of Defendants’ Second Set of Requests for Production, which seek
                                                           26 documents sufficient to identify all IP addresses and email addresses used by
                                                           27 Perfect 10, Mr. Zada, or persons under Perfect 10 and/or Mr. Zada’s control for any
                                                           28 purpose; and (2) Interrogatory Nos. 2 and 4 of Livewire’s First Set of
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    19                CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 27 of 34 Page ID
                                                                                            #:12760


                                                            1 Interrogatories, which call for Perfect 10 to identify all IP addresses and email
                                                            2 addresses for anyone acting under Perfect 10’s direction or control, for the time
                                                            3 period alleged in the Complaint. Dkt. 254 at 1-2. In fact, the Court specifically
                                                            4 refused to allow Perfect 10 to limit its response to full-time employees. Dkt. 254 at
                                                            5 1.
                                                            6         B.    No Privacy Interest Protects the Disclosure of this Information.
                                                            7         Without citing any supporting authority, Mr. Yamato’s responses to these
                                                            8 requests claim that production of such materials invades his privacy rights. But Mr.
                                                            9 Yamato does not, and indeed cannot, identify any privacy interest excusing him
                                                           10 from complying with Defendants’ requests. In fact, the Protective Order entered in
                                                           11 this case expressly contemplates the production of non-party confidential
                                                           12 information and protects against the undue invasion of any asserted privacy interest.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 Dkt. 172.
                                          SAN FRANCISCO




                                                           14         Further, the fact that Mr. Yamato has already produced documents reflecting
                                                           15 some of the information contradicts his claim that he has a legitimate privacy
                                                           16 interest implicated by these requests. For instance, Mr. Yamato’s production to
                                                           17 date includes email exchanges between himself and Mr., Zada, among others. See,
                                                           18 e.g., Belichick Decl. at ¶10, Ex. F [Aug. 28, 2011 Email chain between Yamato and
                                                           19 Zada]. These documents reflect one email address that Mr. Yamato used
                                                           20 professionally in connection with his work for Perfect 10 and were produced
                                                           21 without being designated CONFIDENTIAL under the Protective Order. See id.
                                                           22 Because Perfect 10’s and Mr. Yamato’s own actions belie any claim that there is a
                                                           23 legitimate privacy interest here, the Court should not limit the scope of production
                                                           24 because of on any privacy claim.
                                                           25         C.    Mr. Yamato’s Claim that He has No Responsive Documents is Not
                                                           26               Credible.
                                                           27         Request No. 15 seeks documents sufficient to show the IP addresses Mr.
                                                           28 Yamato used in connection with his work for Perfect 10 and Mr. Zada. As Mr.
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    20              CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 28 of 34 Page ID
                                                                                            #:12761


                                                            1 Yamato attested, at the time he executed his declaration he worked as the Senior
                                                            2 Network Applications Engineer of Enterprise at TW Telecom. Mr. Yamato further
                                                            3 represented that he has “extensive experience with telecommunications, the
                                                            4 Internet, and the USENET.” Dkt. 67 at ¶ 1. In light of his purported background,
                                                            5 Mr. Yamato’s representation that he is unable to find any documents demonstrating
                                                            6 the IP addresses he used in connection with his work for Perfect 10 and Mr. Zada is
                                                            7 simply not credible.
                                                            8         D.     This Court Should Order Mr. Yamato and Objecting Counsel to
                                                            9                Provide Sworn Declarations Detailing All Efforts to Locate
                                                           10                Responsive Documents.
                                                           11         In light of Mr. Yamato’s obligation to conduct a “reasonable inquiry,”
                                                           12 neither Perfect 10 nor Mr. Yamato can merely stand on a boilerplate assertion that
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 no documents responsive to these requests exist. See Nat’l Acad. of Recording Arts
                                          SAN FRANCISCO




                                                           14 & Sciences, Inc. v. On Point Events, LP, 256 F.R.D. 678, 680 (C.D. Cal. 2009); A.
                                                           15 Farber & Partners, Inc. v. Garber, 234 F.R.D. 186, 189-90 (C.D. Cal. 2006). On
                                                           16 the contrary, Mr. Yamato must be able to back up his assertion with facts regarding
                                                           17 his search for documents. Unfortunately, as noted above, Defendants do not know
                                                           18 if Mr. Yamato and his counsel performed a reasonable inquiry for responsive
                                                           19 materials, because Objecting Counsel never responded to any requests for a meet-
                                                           20 and-confer teleconference. Therefore, in addition to ordering Mr. Yamato to
                                                           21 produce all non-privileged responsive documents , the Court should also order Mr.
                                                           22 Yamato and Objecting Counsel to provide sworn declarations detailing any and all
                                                           23 efforts they have made to locate responsive documents.
                                                           24         Request for Production No. 17.6
                                                           25         All documents constituting, containing, or concerning all testimony, exhibits,
                                                           26 or other documents that you have furnished in connection with any proceeding,
                                                           27   6
                                                                 For the Court’s convenience, Defendants group together for argument Requests
                                                           28 Nos. 17-18 to Mr. Yamato, as these requests contain similar subject matter.
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    21                CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 29 of 34 Page ID
                                                                                            #:12762


                                                            1 whether in trial or hearing or deposition or investigation, whether as an expert,
                                                            2 percipient witness, party, or subject.
                                                            3          Perfect 10 and Mr. Yamato’s Response to Document Request No. 17.
                                                            4          Subject to, and without waiving the foregoing specific and General
                                                            5 Objections, after a reasonable and diligent search, Yamato responds that other than
                                                            6 documents protected by the attorney-client and work product privileges in
                                                            7 connection with the preparation of his Declaration in this case, he has no other
                                                            8 responsive documents in his possession, custody or control.
                                                            9          Request for Production No. 18.
                                                           10          All documents concerning all communications in which you furnished
                                                           11 assistance or otherwise communicated with copyright holders who were
                                                           12 contemplating or engaged in litigation over their copyrights.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13          Perfect 10 and Mr. Yamato’s Response to Document Request No. 18.
                                          SAN FRANCISCO




                                                           14          Subject to, and without waiving the foregoing General Objections, after a
                                                           15 reasonable and diligent search, Yamato responds he has no such documents in his
                                                           16 possession, custody or control.
                                                           17          A.     Defendants’ Requests Seek Relevant and Discoverable Documents,
                                                           18                 and Again the Court Has Already Compelled Perfect 10 to
                                                           19                 Produce the Same Information.
                                                           20          Requests Nos. 17-18 seek transcripts, testimony, declarations, exhibits or
                                                           21 other documents furnished in any proceeding or provided to assist copyright
                                                           22 holders who were contemplating or engaged in litigation over their copyrights.
                                                           23 Though not limited to the documents in this case, these requests nevertheless seek
                                                           24 relevant and discoverable documents because they relate to Mr. Yamato’s similar
                                                           25 work on other legal cases and thus are relevant to his qualifications and credibility
                                                           26 in connection with any statements under penalty of perjury he made on behalf of
                                                           27 Perfect 10 in this case. See Dkt. 67.
                                                           28
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY      22                CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 30 of 34 Page ID
                                                                                            #:12763


                                                            1         Once again, the Court has already considered substantially similar discovery
                                                            2 requests that Defendants served on Perfect 10, and it granted Defendants’ motion to
                                                            3 compel regarding these requests. See Dkt. 254 at 2 (regarding RFP Nos. 10, 12-
                                                            4 13).7 In fact, Perfect 10 did not even object to the production of the requested
                                                            5 documents (Dkt. 235 at 42-44), but instead claimed that it produced all responsive
                                                            6 documents that it located after conducting a reasonable search.
                                                            7         B.     This Court Should Order Mr. Yamato and his Counsel to Provide
                                                            8                Sworn Declarations Detailing All Efforts to Locate Responsive
                                                            9                Documents.
                                                           10         Consistent with Objecting Counsel’s approach to responding to the other
                                                           11 requests in Defendants’ subpoena, Perfect 10 and Mr. Yamato’s responses to
                                                           12 Requests Nos. 17 and 18 maintain that no non-privileged, responsive documents
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 exist within his possession, custody or control. (Additionally, Mr. Yamato raises a
                                          SAN FRANCISCO




                                                           14 claim of privilege with respect to Request Nos. 17. As already explained, any such
                                                           15 claim of privilege lacks merit. Further, as noted above, because Mr. Yamato and
                                                           16 his counsel have not established that they performed a reasonable inquiry for
                                                           17 responsive documents (because, among other things, Objecting Counsel never
                                                           18 responded to Defendants’ repeated demands for a meet-and-confer in violation of
                                                           19 the Local Rules), the Court should order them to provide sworn declarations.
                                                           20
                                                           21
                                                           22
                                                                7
                                                           23      RFP No. 10 requested “All documents constituting or containing deposition
                                                                transcripts (including exhibits) of Perfect 10, Norman Zada, any employee or other
                                                           24   agent of Perfect 10, including Bruce Hersh.” RFP No. 12 requested “All
                                                           25   documents constituting or containing declarations (including exhibits) executed by
                                                                or filed on behalf of Norman Zada or Perfect 10 in any litigation or in any
                                                           26   arbitration or before any government agency.” RFP No. 13 requested “All
                                                           27   documents constituting or containing expert reports or declarations in any action,
                                                                including any litigation or arbitration, or before any government agency, in which
                                                           28   Norman Zada or Perfect 10 was a party to the action.” See Dkt. 235 at 31.
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY       23               CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 31 of 34 Page ID
                                                                                            #:12764


                                                            1          C.     The Court Should Compel Mr. Yamato to Produce all Non-
                                                            2                 Privileged Responsive Documents, Because Any Assertion that
                                                            3                 Such Documents Do Not Exist Lacks Credibility.
                                                            4          The fact that Mr. Yamato already submitted a declaration in this case means
                                                            5 that he has (or should have) at least one responsive document within his reasonable
                                                            6 reach. Dkt. 67. But in response to Defendants’ subpoena Mr. Yamato did not
                                                            7 produce or even acknowledge this declaration. Nor did Mr. Yamato or his counsel
                                                            8 certify that this declaration constituted the sum total of testimony he had ever
                                                            9 provided in any proceeding. Instead, Mr. Yamato and his counsel took the easier
                                                           10 course of simply asserting that no documents exist, when one need look no further
                                                           11 than the docket for this case to find at least one. Therefore, Mr. Yamato’s naked
                                                           12 representation that no documents exist is not credible.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13          Moreover, careful review of Mr. Yamato’s declaration in this matter and his
                                          SAN FRANCISCO




                                                           14 paltry production so far reveals that, more likely than not, Mr. Yamato has more
                                                           15 documents responsive to these requests as well. If not documents concerning
                                                           16 testimony, Mr. Yamato must have at least some materials responsive to Request
                                                           17 No. 18, which seeks documents concerning all communications in which Mr.
                                                           18 Yamato furnished assistance or otherwise communicated with copyright holders
                                                           19 who were contemplating or engaged in litigation over their copyrights. For
                                                           20 instance, in his declaration, Mr. Yamato rendered opinions about the enforcement of
                                                           21 copyrights under the DMCA. Dkt. 67. Further, Mr. Yamato submitted his
                                                           22 declaration in support of Perfect 10’s motion for a preliminary injunction, who at
                                                           23 the time was engaged in litigation over their copyrights. It stands to reason that
                                                           24 Mr. Yamato would have some documentation of the assistance he furnished at least
                                                           25 to Perfect 10, a “copyright holder” within the meaning of Request No. 18.
                                                           26          In fact, the few documents produced on behalf of Mr. Yamato on May 27,
                                                           27 2014 confirm that responsive materials do indeed exist within Mr. Yamato’s
                                                           28
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY      24              CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 32 of 34 Page ID
                                                                                            #:12765


                                                            1 possession. See, e.g., Belichick Decl. at ¶10, Ex. F [Aug. 28, 2011 Email chain
                                                            2 between Yamato and Zada]. Defendants have the right to obtain these documents. .
                                                            3         D.     No Privilege Protects Any Documents Responsive to Request No.
                                                            4                17 From Disclosure.
                                                            5         As with Mr. Yamato’s other privilege objections, his claim of privilege
                                                            6 regarding Request No. 17 does not pass muster. This request seeks documents
                                                            7 concerning testimony offered by Mr. Yamato in any proceeding. In response, Mr.
                                                            8 Yamato claims privilege and work product protection for documents concerning the
                                                            9 preparation of his declaration in this case. As discussed above, Mr. Yamato’s claim
                                                           10 of privilege and/or work product protection fails.
                                                           11 III.    CONCLUSION
                                                           12         A.     The Court Should Order Mr. Yamato Immediately to Comply
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13                with His Discovery Obligations.
                                          SAN FRANCISCO




                                                           14         Consistently with the pattern and practice we have seen with other third-party
                                                           15 witnesses who affiliated with Perfect 10, counsel for Perfect 10 is preventing
                                                           16 Defendants from obtaining relevant discovery, especially preventing Defendants
                                                           17 from obtaining such documents before Defendants depose the third-party witnesses.
                                                           18 Defendants believe that Mr. Yamato and his counsel made no serious, good faith
                                                           19 effort actually to search for documents in good faith and to comply with
                                                           20 Defendants’ subpoena. Instead, Objecting Counsel either flatly insisted that no
                                                           21 responsive documents existed within Mr. Yamato’s possession, custody or control,
                                                           22 or else invoked upon a general assertion of privileges and/or privacy interests that
                                                           23 even the most cursory legal research would demonstrate not to apply. And when
                                                           24 questioned about Mr. Yamato’s responses, Objecting Counsel did not even bother
                                                           25 to answer.
                                                           26         The end of discovery is fast approaching, and counsel for Perfect 10
                                                           27 withholds discovery this Court has already ruled that Defendants are entitled to.
                                                           28 Defendants respectfully ask the Court to grant this motion and order Mr. Yamato
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    25                CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 33 of 34 Page ID
                                                                                            #:12766


                                                            1 and Objecting Counsel immediately to serve supplemental discovery responses and
                                                            2 supporting declarations, and also immediately to produce all non-privileged
                                                            3 responsive documents as the accompanying Proposed Order details.
                                                            4         B.     The Court Should Award Monetary Sanctions For Mr. Yamato’s
                                                            5                Unjustified Discovery Noncompliance and Objecting Counsel’s
                                                            6                Complete Failure to Meet and Confer.
                                                            7         Under Local Rule 37-1, “[u]nless relieved by written order of the Court upon
                                                            8 good cause shown, counsel for the opposing party shall confer with counsel for the
                                                            9 moving party within ten (10) days after the moving party serves a letter requesting
                                                           10 such conference.” Civ. L.R. 37-1 (emphasis added). The failure of Objecting
                                                           11 Counsel to comply with this requirement is sanctionable. Civ. L.R. 37-4; see also,
                                                           12 e.g., Walt Disney Co. v. DeFabiis, 168 F.R.D. 281, 285 (C.D. Cal. 1996) (awarding
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                           13 attorney’s fees and additional monetary sanctions where counsel for party
                                          SAN FRANCISCO




                                                           14 responding to discovery failed to participate in meet-and-confer process). In Walt
                                                           15 Disney, the court specifically found that “[t]he failure of defendant[’s] counsel,
                                                           16 moreover, to meet and confer, and to participate in the joint stipulation as required
                                                           17 by [then] Local Rule 7.15, cannot be ignored.” Id. (sanctioning defendant’s counsel
                                                           18 in the amount of $500.00).
                                                           19         Fact discovery closes on June 30, 2014, and Defendants repeatedly tried to
                                                           20 resolve Mr. Yamato’s discovery noncompliance before filing this motion. As early
                                                           21 as May 9, 2014, Defendants sent a letter asking to meet and confer with opposing
                                                           22 counsel to discuss the glaring deficiencies in Perfect 10’s and Mr. Yamato’s
                                                           23 responses and objections. Belichick Decl. at ¶3, Ex. B [May 9, 2014 Letter from
                                                           24 Belichick to Locke] at 1-5. When Objecting Counsel entirely ignored Defendants’
                                                           25 demand, Defendants again raised the matter. Id. at ¶5, Ex. C [May 23, 2014 Letter
                                                           26 from Gregorian to Locke], ¶7, Ex. D [May 27, 2014 Email from Gregorian to
                                                           27 Locke]. Despite Defendants’ repeated efforts, Counsel for Perfect 10 and Mr.
                                                           28 Yamato failed to meet-and-confer with respect to any of the document requests at
                                                              MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY    26                CASE NO. 11-CV-07098-ABC(SHX)
                                                              COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
                                                          Case 2:11-cv-07098-AB-JPR Document 298-1 Filed 06/02/14 Page 34 of 34 Page ID
                                                                                            #:12767


                                                            1 issue. Because of Objecting Counsel’s obstructive disregard for Defendants’
                                                            2 requests and the meet-and-confer process that the Local Rules command,
                                                            3 Defendants must bring this Motion without the usual joint stipulation.
                                                            4          This Court should not tolerate Objecting Counsel’s repeated defiance of the
                                                            5 required meet-and-confer process. Accordingly, in addition to whatever other relief
                                                            6 the Court deems proper, this Court should award Defendants their reasonable
                                                            7 attorneys’ fees and costs associated with bringing this Motion, as well as an
                                                            8 additional monetary sanction in the amount of at least $1,500 to be paid by
                                                            9 Objecting Counsel for the undeniable failure to respond to Defendants’ three
                                                           10 requests for a required meet-and-confer effort.
                                                           11 Dated: June 2, 2014                           FENWICK & WEST LLP
                                                           12
F ENWICK & W EST LLP




                                                                                                            By: /s/Joseph S. Belichick
                       ATTORNEYS AT LAW




                                                           13
                                          SAN FRANCISCO




                                                                                                                Joseph S. Belichick
                                                           14                                                Attorneys for Defendants GIGANEWS,
                                                                                                             INC., and LIVEWIRE SERVICES, INC.
                                                           15
                                                           16
                                                           17
                                                           18
                                                           19
                                                           20
                                                           21
                                                           22
                                                           23
                                                           24
                                                           25
                                                           26
                                                           27
                                                           28
                                                                MEMO ISO DFTS’ MOT TO COMPEL DISCOVERY         27                 CASE NO. 11-CV-07098-ABC(SHX)
                                                                COMPLIANCE FROM YAMATO, AND FOR SANCTIONS
